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 6                         IN THE UNITED STATES DISTRICT COURT
 7                                 FOR THE DISTRICT OF ARIZONA
 8
 9   Trinity Warner, et al.,                         NO. CV-15-01212-PHX-GMS
                                                     (LEAD CASE)
10                   Plaintiffs,
                                                     JUDGMENT IN A CIVIL CASE
11   v.
                                                     Consolidated With:
12   Experian          Information       Solutions   No. CV-16-01888-PHX-GMS
     Incorporated,                                   No. CV-16-01883-PHX-GMS
13
                                                     No. CV-16-01879-PHX-GMS
                     Defendant.
14                                                   No. CV-16-01877-PHX-GMS
                                                     No. CV-16-01847-PHX-GMS
15                                                   No. CV-16-01727-PHX-GMS
16                                                   No. CV-16-01834-PHX-GMS
                                                     No. CV-16-01824-PHX-GMS
17                                                   No. CV-16-01825-PHX-GMS
                                                     No. CV-16-01728-PHX-GMS
18                                                   No. CV-16-01890-PHX-GMS
19                                                   No. CV-16-01844-PHX-GMS
                                                     No. CV-16-01731-PHX-GMS
20                                                   No. CV-16-01729-PHX-GMS
                                                     No. CV-16-01730-PHX-GMS
21                                                   No. CV-16-01845-PHX-GMS
22                                                   No. CV-16-01833-PHX-GMS
                                                     No. CV-16-00660-PHX-GMS
23                                                   No. CV-16-00661-PHX-GMS
                                                     No. CV-16-00663-PHX-GMS
24                                                   No. CV-16-00665-PHX-GMS
25                                                   No. CV-16-00666-PHX-GMS
                                                     No. CV-16-00667-PHX-GMS
26                                                   No. CV-16-01039-PHX-GMS
                                                     No. CV-16-02987-PHX-GMS
27                                                   No. CV-16-03038-PHX-GMS
28                                                   No. CV-16-03039-PHX-GMS
                                                     No. CV-16-03040-PHX-GMS
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 1                                                  No. CV-16-03041-PHX-GMS
                                                    No. CV-16-03005-PHX-GMS
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 5         Decision by Court. This action came for consideration before the Court. The
 6   issues have been considered and a decision has been rendered.
 7         IT IS ORDERED AND ADJUDGED that, pursuant to the Court’s Order filed
 8   August 17, 2017, which granted the Motion for Summary Judgment, judgment is entered
 9   in favor of Experian Information Solutions, Inc. and against each Plaintiff in this
10   consolidated matter.
11
                                             Brian D. Karth
12                                           District Court Executive/Clerk of Court

13   August 17, 2017
14                                           s/ Katrina Smith
                                       By    Deputy Clerk
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